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      YEONG LEE
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      YEONG LEE,                                        Case No.: 8:23-cv-02320-FWS-JDEx
11
12                 Plaintiff,                           NOTICE OF VOLUNTARY
            vs.                                         DISMISSAL OF ENTIRE ACTION
13                                                      WITH PREJUDICE
14
      ORTHO MATTRESS INC.;
15    TURPANJIAN PROPERTIES LP; and
16    DOES 1 to 10,
                   Defendants.
17
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19
            PLEASE TAKE NOTICE that Plaintiff YEONG LEE (“Plaintiff”) pursuant to
20
      Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire
21
      action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which
22
      provides in relevant part:
23
            (a) Voluntary Dismissal.
24
                   (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25
                          and any applicable federal statute, the plaintiff may dismiss an action
26
                          without a court order by filing:
27
28


                                                    1
                     NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
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 1                       (i)   A notice of dismissal before the opposing party serves either an
 2                             answer or a motion for summary judgment.
 3    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5    Court.
 6
 7    DATED: January 25, 2024               SO. CAL. EQUAL ACCESS GROUP
 8
 9
10                                          By:     /s/ Jason J. Kim
                                                  Jason J. Kim, Esq.
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                                                  Attorneys for Plaintiff
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                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
